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                                                                                F'IL'ED
                                                                                            . COURT
                                                                       U.S .~D~t15 A DIV
                    IN THE UNITED STATES DISTRICT COURT
                                                                                  12 PH 3; 4 5
                  FOR THE SOUTHERN DISTRICT OF GEOR S

                                  AUGUSTA DIVISION                     CLERK •-- r
                                                                         SG . DI3T.
 JAMES NATHANIEL DIXON,

               Movant,
                                               )
        V.                         )                   CV 105-20 8
                                                       (CR 197-43 )
 UNITED STATES OF AMERICA, )
                           )
                Respondent .                    )



          MAGISTRATE JUDGE'S REPORT AND RECOMMENDATIO N




        Movant has filed a motion to vacate , set aside, or correct his sentence under Title 28,

 United States Code, Section 2255. The motion is now before the Court for initial review

 under Rule 4 of the Rules Governing Section 2255 Proceedings . For the reasons set forth

 below, the Court REPORTS and RECOMMENDS that the Section 2255 motion be

 DENIED and that this civil action be CLOSED .




 I. BACKGROUND

        On October 2, 1998, a jury sitting in Augusta, Georgia, convicted movant of

 possession with intent to dist ribute cocaine in violation of Title 21, United States Code,

 Section 841 and conspiracy to possess with intent to distribute cocaine base in violation of

 Title 21 , United States Code, Section 846. The court sentenced movant to 324 months in

 prison . The Eleventh Circuit affirmed the conviction and sentence on February 18, 2000 .
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 United States v . Jackson, No . 98-9267 (11th Cir . 2000), On July 25, 2000, movant,

 proceeding pro se, filed for leave to submit an untimely petition for writ of certiorari in the

 United States Supreme Court . The Court denied the petition on February 20, 2001 . Dixon

 v. United States, 531 U.S. 1155 (2001) .

         Movant then filed a motion under Section 2255 on January 22, 2002 . In the motion,

 movant argued that the court sentenced him in violation of the Supreme Court's rule in

 Apprendi Y. New Jersey, 530 U .S . 466 (2000) . The court denied his motion on May 24,

 2002. Dixon v . United States, CV 102-5 (S .D. Ga . 2002) . Movant appealed, and the

 Eleventh Circuit affirmed the denial of movant's Section 2255 motion on April 15, 2003 .

 Dixon v . United States , No. 02-13261 (11th Cir. 2003) .

         Movant filed the instant Section 2255 motion on December 28, 2005 . As grounds

 for relief, movant again asserts that the court sentenced him in violation of Apprendi and

 Booker v . United States , 543 U.S. 220 (2005), in which the Supreme Court applied Apprendi

 to the Sentencing Guidelines .




 II. DISCUSSION

         Movant's successive Section 2255 motion is barred by the Antiterrorism and

 Effective Death Penalty Act of 1996, Pub . L . 104-132, 110 Stat . 1214, codified at Title 28,

 United States Code, Sections 2255 and 2244(b) . Section 2255 provides in relevant part :

         A second or successive motion must be certified as provided in section 2244
         by a panel of the appropriate court of appeals to contain-

           (1) newly discovered evidence that, if proven and viewed in light of the
           evidence as a whole, would be sufficient to establish by clear and convinc-


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           ing evidence that no reasonable factfinder would have found the movant
           guilty of the offense ; or

           (2) a new rule of constitutional law, made retroactive to cases on collateral
           review by the Supreme Court, that was previously unavailable .

 28 U.S.C. § 2255 . Under Section 2244 , prior to filing a successive petition in a district court,

 a movant "shall move in the appropriate cou rt of appeals for an order authorizing the dist rict

 court to consider the application." 28 U.S.C. § 2244(b)(3)(A) ; accord Inreioshua, 224 F.3d

 1281, 1281 (11th Cir. 2000 ) (per curiam) ("Federal prisoners seeking to file a second or

 successive motion to vacate, set aside, or correct a sentence must move the court of appeals

 for an order authorizing the district court to consider the second or successive motion .").

         The Seventh Circuit held that this provision "is an alloca tion of subject-matter

 jurisdiction to the court of appeals . A district court must dismiss a second or successive

 petition, without awai ting any response from the government, unless the court of appeals has

 given approval for its filing ." Nunez v . United Sates , 96 F .3d 990, 991 (7th Cir . 1996)

 (emphasis in original). The Eleventh Circuit has re ached the same conclusion. Hill v .

 Hopp     112 F.3d 1088, 1089 (11th Cir . 1997) (holding that district court lacked jurisdiction

 to consider "functional equivalent" to second Section 2254 petition for writ of habeas

 corpus ); In re Medina, 109 F .3d 1556 (11th Cir. 1997) ( finding that district court properly

 denied successive Section 2254 petition because petitioner neglected to obtain certificate

 from court of appeals authorizing dist rict court to consider motion) .

        In this case , movant filed a Section 2255 motion on January 22, 2002 . The court

 denied the mo tion.    Because mov ant apparently has not obtained permission from the




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 Eleventh Circuit to file a successive motion, the instant Section 2255 motion should be

 denied .



 III. CONCLUSION

            Based on an initial review of the instant Section 2255 motion, as required by Rule 4

 of the Rules Governing Section 2255 Cases, the Court finds the motion to be successive .

 The Court therefore REPORTS and RECOMMENDS that the motion be DENIED and that

 this civil action be CLOSED .

            SO REPORTED and RECOMMENDED thi$/ay of January, 2006, at Augusta,

 Georgia.




                                                  W. LEONJBARFIELD
                                                  UNITED STATES MAGISTRATE JUDGE
